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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION,   :
                                      :
               Plaintiff,             :               09 Civ. 6829 (JSR)
                                      :
               -v-                    :               OPINION AND ORDER
                                      :
BANK OF AMERICA CORPORATION           :
                                      :
               Defendant.             :
------------------------------------- x

JED S. RAKOFF, U.S.D.J.


          The principal charge in this case is that defendant Bank of

America Corporation, in the proxy statement that solicited approval of

the Bank’s purchase of Merrill Lynch & Co. (the “Proxy Statement”),

falsely represented that Merrill was prohibited from paying year-end

bonuses without the Bank’s (subsequent) consent, when in fact the Bank

had already consented in writing to Merrill’s paying up to $5.8

billion in such bonuses.      See, e.g., Am. Compl. ¶ 18.        As part of its

defense, the Bank contends that shareholders already knew, as a result

of widespread media reports, that Merrill was expected to pay billions

of dollars in year-end bonuses.        See, e.g., Answer to Am. Compl. ¶¶ 2,

15, 16.

          However, the Proxy Statement itself, in its opening pages,

expressly warns shareholders not to pay heed to such extrinsic

information:

                  You should rely only on the information contained or
          incorporated by reference into this document. No one has been
          authorized to provide you with information that is different
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       from that contained in, or incorporated by reference into,
       this document.

Proxy Statement Cover Sheets.

       At the end of the Proxy Statement, the same warning is

repeated, and elaborated, in boldface:

               You should rely only on the information contained or
       incorporated by reference in this document. Neither Bank of
       America nor Merrill Lynch has authorized anyone to give any
       information or make any representation about the merger or our
       companies that is different from, or in addition to, that
       contained in this document. Therefore, if anyone does give
       information of this sort, you should not rely on it.

Proxy Statement at 124.

       Accordingly, plaintiff Securities and Exchange Commission (the

“S.E.C.”) seeks to exclude the media reports from evidence.              The Bank

counters that, even if the above-quoted warnings render such evidence

irrelevant to the issue of shareholder reliance, such evidence is

still a relevant part of the “mix” of information that determines

whether the alleged misrepresentations were material.          This dispute,

raised earlier in this litigation, is now ripe for decision, since the

S.E.C. has now moved to exclude those portions of the Bank’s experts’

opinions that rely on such media reports.

       By way of background, the Case Management Plan filed September

22, 2009 required the S.E.C. to disclose the reports of its experts on

November 20 and the Bank to disclose the reports of its experts on

December 10.   On November 20, the S.E.C. duly served the report of its



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sole purported expert, Prof. Robert M. Daines of Stanford Law School,

who offered opinions on, among other things, the issue of

“materiality,” that is, whether the allegedly concealed information,

if disclosed, would have been viewed by a reasonable investor as

having significantly altered the total mix of information made

available.    TSC Indus. v. Northway, 426 U.S. 438, 449 (1976).          So far

as media reports were concerned, Prof. Daines first opined, consistent

with the S.E.C.’s already enunciated position, that they were

irrelevant because of the Proxy Statement’s own warnings not to

consider them; but he further opined that, even if not otherwise

excluded, they did not render the alleged misrepresentations

immaterial.   See, e.g., Daines Decl. ¶¶ 4, 24-25, 40-49.

       For its part, the Bank, on December 10, served the reports of

no fewer than six purported experts, namely, Irving S. Becker, who

opined on the issue of executive compensation; Stephen B. Blum, who

opined on accounting issues; Prof. Joseph A. Grundfest of Stanford Law

School, who opined on the issue of materiality; Prof. William W.

Holder of the University of Southern California Business School, who

opined on accounting issues; Prof. R. Glenn Hubbard of Columbia

Business School, who opined on the issue of materiality; and Morton A.

Pierce, Esq., who opined on disclosure practices.         The opinions of

Professors Grundfest and Hubbard, in particular, relied heavily or

exclusively on media reports as the basis for determining materiality.




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       The S.E.C. then moved to exclude most, if not all, of the

Bank’s experts.   (The S.E.C.’s motion, and most of the briefing

referred to herein, was in the form of letter briefs, which the Court

will arrange to docket promptly after filing this Opinion.)              Following

initial briefing, the Court convened an in-court conference on

December 17, 2009, at which the Court expressed tentative views that

much of the proposed testimony of the S.E.C.’s own expert might well

be inadmissible, but that, in any event, it was unlikely the Court

would allow the Bank to call six purported experts, several of whom

were seemingly repetitive of others.       See, e.g., Transcript of

December 17 Hearing (“Tr.”) at 4-7, 9-10.       The Court also took note

that there might be unresolved questions about the whether the

methodology used by some of the experts met the requirements of Rule

702 of the Federal Rules of Evidence, but the Court agreed with the

parties that consideration of the methodological issues should await

the completion of the experts’ depositions.        Tr. at 5-6, 18-20.

Finally, on the issue of the whether the warning statements in the

Proxy Statement rendered inadmissible the opinions of the Bank’s

experts premised on the media reports, the Court invited further

briefing, to be completed by December 30, 2009.        Tr. at 38-39.

       With the aid of this additional briefing, the Court now

regards this last issue as a simple one:

       According to the Amended Complaint, the Proxy Statement,

fairly read, represented that no Merrill bonuses would be paid without


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subsequent Bank consent, whereas the Bank had already given its

consent.    The fact that the media were predicting, as the Bank claims,

that Merrill would in fact pay bonuses is entirely irrelevant to any

aspect of this issue, for the alleged falsehood consisted of

representing as a contingency what was in fact an agreement already

reached, and it does not appear that virtually any of the media

reports disclosed that agreement.

       Furthermore, even if the media reports of Merrill’s likelihood

of paying bonuses could otherwise somehow be said to bear indirectly

on the question of how material was the Bank’s alleged failure to

disclose that it had in fact already approved the payment of such

bonuses when it purported to represent that it had not given such

approval, the warnings in the Proxy Statement totally changed the

relevant mix of information for assessing materiality.            Since the test

of materiality is whether the undisclosed information, if disclosed,

“would have been viewed by a reasonable investor as having

significantly altered the ‘total mix’ of information made available,”

TSC Indus., 426 U.S. at 438, one must ask what a reasonable investor

would reasonably consider the total mix of information in this case.

The answer is that since the Bank itself warned investors not to rely

on the media, it would be unreasonable for a shareholder to consider

the media pronouncements to be part of the relevant mix of

information.




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